Form 210A (12/09)

                             United States Bankruptcy Court
                                          Middle                  District Of          Pennsylvania
         In re MICHAEL VATZA                               ,       Case No. 19-01631

                CRYSTAL VATZA
                      TRANSFER OF CLAIM OTHER THAN FOR SECURITY

     A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
     Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
     transfer, other than for security, of the claim referenced in this evidence and notice.


     Santander Consumer USA
     Inc.                                                          Gateway One Lending & Finance, LLC
                  Name of Transferee                                                    Name of Transferor
     Name and Address where notices to transferee                  Court Claim #(if known): 3
     should be sent:                                               Amount of Claim:         $5,757.28
     Santander Consumer USA Inc.                                   Date Claim Filed:        5/6/2019

     P.O. Box 961245
     Fort Worth, TX 76161-1245
     Phone:                                                        Phone:
     Last Four Digits of Acct #: 8283                              Last Four Digits of Acct #:                         6427
     Name and Address where transferee payments
     should be sent(if different from above):
     Santander Consumer USA Inc.
     P.O. Box 560284
     Dallas, TX 75356
     Phone:
     Last Four Digits of Acct #: 8283


     I declare under penalty of perjury that the information provided in this notice is true and correct to
     the best of my knowledge and belief.
             /s/ Lorraine Lowery-Johnson                  3/10/2020
     By:                                                           Date:
             Transferee/Transferee's Agent
     Penalty for making a false statement: Fine of upt $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. § § 152 &3571.




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